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11
                       UNITED STATES DISTRICT COURT
12
                    NORTHERN DISTRICT OF CALIFORNIA
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                             SAN FRANCISCO DIVISION
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17   FEDERAL TRADE COMMISSION,                 Case No. 3:23-cv-02880-JSC
18                  Plaintiff,
19        v.                                   NON-PARTY SONY
20                                             INTERACTIVE
     MICROSOFT CORP., et al.,                  ENTERTAINMENT LLC’S
21                  Defendants.                STATEMENT IN SUPPORT OF
22                                             PLAINTIFF’S MOTION FOR
                                               PROTECTIVE ORDER
23
24
                                               The Honorable Jacqueline Scott
25                                             Corley
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         NON-PARTY SONY INTERACTIVE ENTERTAINMENT LLC’S STATEMENT IN SUPPORT OF
                         PLAINTIFF’S MOTION FOR PROTECTIVE ORDER
                                 CASE NO. 3:23-CV-02880-JSC
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 1   I. Introduction
 2         Non-Party Sony Interactive Entertainment LLC (“SIE”) has appeared in this
 3   matter for the purpose of protecting its confidential information.
 4         Toward that end, SIE writes in support of Plaintiff Federal Trade
 5   Commission (“FTC”)’s Motion for Protective Order, ECF 112. The Court should
 6   reject Defendants’ Joint Opposition at ECF 115 and enter the protective order
 7   proposed by the FTC.
 8         The FTC’s proposed order would continue to protect confidential
 9   information from being accessed by in-house counsel at Microsoft and Activision.
10   ECF 112-1 at ¶ 8. The Defendants’ proposed order would, for the first time in the
11   various proceedings spawned by this proposed transaction, permit certain of
12   Defendants’ in-house counsel to view commercially sensitive material from the
13   files of third parties like SIE. See ECF 112-3 at ¶ 8.
14   II. Background
15         SIE produced hundreds of thousands of its internal documents in response to
16   demands in the underlying FTC administrative proceeding In the Matter of
17   Microsoft / Activision Blizzard, FTC Docket No. 9412. Many of these documents
18   contain SIE’s highly-sensitive commercial information, including information
19   related to strategic plans, pricing strategy, competitive analyses, and financial
20   modeling, among other things. SIE produced these materials with the
21   understanding that they would be afforded strict confidentiality protections pursuant
22   to the Protective Order entered in the FTC administrative proceeding, which does
23   not permit access by any of Defendants’ in-house counsel. See ECF 112 Ex. A ¶ 7.
24         SIE has also produced certain discovery in response to third-party subpoenas
25   in the related proceeding Demartini v. Microsoft, 3:22-cv-08991-JSC
26   (“Demartini”). SIE agreed to production only after insisting on similar protections
27   prohibiting access by in-house counsel. See DeMartini ECF No. 71 (modified
28                                            -2-
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 1   protective order); see also Demartini ECF No. 60 (original protective order
 2   permitting in-house counsel viewing). The Defendants did not oppose these
 3   modifications to the protective order to afford outside-counsel-only protection.
 4   Demartini ECF No. 70 (stipulation modifying protective order).
 5         SIE has zealously guarded the commercially sensitive information that it has
 6   produced in these proceedings. See ECF No 134; see also Demartini ECF Nos.
 7   113, 179. SIE writes in support of the FTC’s Motion for Protective Order to ensure
 8   that its longstanding efforts to preserve its confidentiality are not undermined.
 9   III. Argument
10         SIE and Microsoft’s video game businesses are direct competitors, and SIE
11   has business partnerships with both Microsoft Xbox and Activision. It would be
12   facially prejudicial to SIE for Microsoft or Activision to gain access to
13   commercially sensitive SIE information through the adjudicative process. See, e.g.,
14   United States v. Aetna, No. 1:16-cv-01494, 2016 WL 8738420 at *5-6, 9 (D.D.C.
15   Sept. 5, 2016) (rejecting request to modify protective order in a merger proceeding
16   to permit certain in-house counsel viewing). Defendants’ promise that “in-house
17   designees would have no responsibility for competitive decisions,” ECF 115 at 1,
18   offers no comfort. See Aetna, 2016 WL 8738420 at *5 (rejecting similar
19   argument). While in-house counsel are unlikely to have “responsibility” for
20   business decisions, this may not prevent them from sharing—intentionally or
21   unintentionally—information learned from competitively sensitive SIE documents
22   with their colleagues who do have such responsibility. See ECF 112 at 6
23   (collecting cases related to prejudice that can arise from in-house viewing). In fact,
24   Defendants’ very purpose in gaining access for in-house counsel is to work with
25   business people to “develop a response and collect the information needed for that
26   response,” ECF 115 at 4, which anticipates contact between the in-house designees
27   and people with business responsibilities.
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 1         Third parties to this litigation have produced extensive discovery in reliance
 2   on strict protective orders with outside-counsel-only protection. It would be unduly
 3   prejudicial to SIE and other third parties to modify the terms of their productions at
 4   this late date, on short notice, and without good cause. See ECF 112 at 5
 5   (collecting cases on fairness to third parties). The Defendants have not shown good
 6   cause to upend the terms of the confidentiality protections governing these
 7   proceedings, and the Court should adopt the FTC’s proposed Protective Order.
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      Dated:       June 20, 2023
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                                                 Respectfully submitted,
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